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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 ROBERT JONES,                              :    CIVIL ACTION NO. 2:18-CV-0503-JTM-JCW
                                            :
                          Plaintiff         :    SECTION H(2)
                                            :
       v.                                   :    JUDGE JANE TRICHE MILAZZO
                                            :
 LEON CANNIZZARO, JR., and                  :    MAGISTRATE JOSEPH C. WILKINSON, JR.
 ABC INSURANCE COMPANIES 1-10,              :
                                            :
                           Defendants.      :    JURY TRIAL DEMANDED

ORDER GRANTING REQUEST FOR ORAL ARGUMENT ON PLAINTIFF’S SECOND
MOTION TO COMPEL DISCOVERY FROM DEFENDANT LEON CANNIZZARO, JR.
     AND PLAINTIFF’S MOTION FOR LEAVE TO DEPOSE KYLE DALY

       It is ORDERED that Plaintiff’s Second Motion to Compel Discovery from Defendant Leon

Cannizzaro, Jr. and Plaintiff’s Motion for Leave to Depose Kyle Daly is set for oral argument on

Wednesday, October 23, 2019 at 11:00 a.m. before the Honorable Joseph C. Wilkinson, Jr., United

States District Court for the Eastern District of Louisiana, 500 Poydras Street, Courtroom B421,

New Orleans, Louisiana.
                                                                        10/3/19
       It is so ORDERED.                                               2/15/05
       SIGNED this ____ day of __________, 2019.

                                      ___________________________________

                                      UNITED STATES MAGISTRATE JUDGE
